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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 1:16-cv-21702-UU

 STEFANIA ALBI,

        Plaintiff,

 v.

 PRESTIGE CRUISES INTERNATIONAL INC., et al.,

       Defendants.
 ______________________________________________________/

                                            ORDER

        THIS CAUSE is before the Court upon Agreed Motion to Stay Discovery and for an

 Enlargement of Time to File Joint Scheduling Report Pending Ruling on Defendants’ Motion to

 Dismiss for Forum Non Conveniens. D.E. 22.

        THE COURT has reviewed the Motion, the pertinent portions of the record and is

 otherwise fully advised in the premises.

        ORDERED AND ADJUDGED that agreed Motion to Stay Discovery and for an

 Enlargement of Time to File Joint Scheduling Report Pending Ruling on Defendants’ Motion to

 Dismiss for Forum Non Conveniens (D.E. 22) is DENIED.

        DONE AND ORDERED in Chambers, Miami, Florida, this _10th_ day of June, 2016.



                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE
 cc: counsel of record.
